UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
v. 17-CR-00234-RLW
RAMI ALMUTTAN,
Defendant. 5

SENTENCING MEMORANDUM

COMES NOW Defendant Rami Almuttan, by and through the undersigned counsel, and

for his Sentencing Memorandum states as follows:
Introduction

Rami Almuttan seeks a sentence of probation for a plea of guilty to Count 2 of the
Indictment charging Conspiracy to Distribute Contrelled Substances and Analogues,

The parties are in agreement with the PSR that the Guideline Total Offense level is 25
with a Criminal History Category I, resulting in a range of imprisonment of 57-71 months. PSR
paras. 78,107.

The parties are in agreement with the PSR that the Statutory offense provides for a
maximum term of imprisonment of 20 years, but that Rami Almuttan is also eligible for a
sentence of probation for a term from 1 to 5 years, PSR paras. 106,113.

After taking into consideration and weighing all the 18 USC §3553(a) factors, together
with all the matters, facts and circumstances in the record, a variance to a sentence of probation
would be “sufficient, but not greater than necessary” to achieve the congressionally expressed

needs for the sentence requested in this case.

 
Background

Rami Almuttan is 38 years of age, born and raised in the West Bank. He moved to the
United States at age 19. He is one of 10 children of his parents. Rami’s father was killed when
he was age 9. His mother now resides in Missouri with one of Rami’s six siblings. The six
siblings in addition to Rami live in the St. Louis area. One brother was murdered in 2007 while
operating a family grocery store in Illinois. Rami has two other siblings still living in the West
Bank,

Rami came to the United States in 2003 with nothing. He returned briefly to the West
Bank for his marriage in 2006, and he returned to the United States with his wife for permanent
residency. He became a United States’ citizen in 2012. Rami and his wife Saaed have 6
children, ages 5 to 14. Rami is the sole provider for his family. He works individually and with
his brothers in businesses which operate grocery stores in the St. Louis metropolitan area. He and
his brothers have worked tirelessly 6-7 days a week, often more than 12 hours a day to have
successful businesses.

Rami has been on pretrial release for over five years, beginning on June 2, 2017, which
was three days after his arrest and being taken into custody. This supervision included several
years of monitoring on an electronic ankle bracelet.

USC §3553(a) Factors

(A) To reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense.

A sentence of probation to a felony for Rami Almuttan, a previously law-abiding citizen,
is a serious sentence carrying permanent and serious consequences: his loss of substantial and
numerous civil rights, harm to his personal and business reputation in the community at large,

and harm to his reputation in particular in the business community of which he is a member.

 
Rami Almuttan, however, went astray, and he crossed the line, but not before this case,
and not during the five years since his arrest. In recognition of the history, circumstances and
complete record of this defendant in this case, a sentence of probation does not promote any
disrespect for the law. Rather it confirms that not one sentence size fits all defendants. The law
recognizes that defendants have different histories and their cases have different facts and
circumstances, even if the defendants face similar charges. Good people can make mistakes.
(See letters attached as testament to Rami Almuttan’s good character and kindness to others).
The best of them warrant a better sentence than the worst of them.

Putting a person in prison should not be a necessary and only reaction to a charge.
Congress has provided that probation is an appropriate sentence for this charge. To only
consider otherwise would disrespect the law. Congress recognizes that a sentence of probation,
particularly on top of successfully serving five years of pretrial release (including substantial
electronic monitoring), is within the range of a just punishment under all the circumstances of
this case.

Of note, the United States Sentencing Commission keeps statistics on certain dispositions
in criminal cases, both nationally and for each Circuit. One particular category of these statistics
is the “Incarceration Rate of U.S. Citizen Offenders Eligible for Non-Prison Sentences.” }
Rami Almuttan is such an offender; he is a United States citizen and he is eligible for probation.

The USSC statistics for fiscal year 2021 show that nationally the average sentence is that
41% of such offenders charged with Drug Trafficking receive non-prison sentences; in the
Eighth Circuit for 2021, 31% of such offenders received non-prison sentences. [t cannot be

argued that courts which granted non-prison sentences for drug trafficking crimes to 31% to at

 

' United States Sentencing Commission Statistical Information Packet, Fiscal Year 2021 Eighth Circuit, Table 6.
SOURCE: U.S. Sentencing Commission, 2021 Datafile, USSCFY21

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least 41% of eligible defendants failed to reflect on the seriousness of the offense, nor that they
failed to respect the law, nor that they failed to provide just punishment. Given Rami Almuttan’s
history and considering all the facts and circumstances of this case, a sentence of probation
would place Rami within that statistical range of 31% to at least 41% of offenders that did not
and do not warrant a sentence of imprisonment.

(B) To afford adequate deterrence to criminal conduct.

Is it likely or reasonabie that a person considering committing a drug offense is going to
reason that because he/she has a 31% chance of not going to prison, a drug venture seems worth
the risk? Not likely. Either the specter of going to jail is deterrent enough or there are no
deterrents available. Sentencing 31% of eligible drug offenders to probation will not lessen any
deterrent value that exists from sentencing the vast majority of such offenders to prison.

(C) To protect the public from further crimes of the defendant.

There is no evidence other than the offense itself that indicates the public needs further
protection from Rami Almuttan. There was no indication of needing protection from Rami prior
to this offense, and there has been no indication of a need for protection from his behavior during
the five plus years of pretrial release. Over these last five plus years on pretrial release, Rami has
demonstrated and confirmed his respect for the law and his ability to thrive as a productive
citizen in comportment with the law,

(D) To provide the defendant with needed educational or vocational training, medical
care, or other correctional treatment in the most effective manner.

This factor is not relevant in this case.
Concern For Disparities in Sentences
There are six defendants in this case including Rami Almuttan that have pleaded guilty to

Count 2 of the Indictment. Others were charged, but their cases are being dismissed. Only one
has been sentenced to prospective imprisonment. The criminal history and circumstances of that
defendant are substantially different from Rami and the other Count 2 defendants. That
defendant was illegally trafficking in narcotics different from, in addition to, and outside the
conduct of Count 2, That defendant was also illegally trafficking in firearms.

A sentence of probation for Rami Almuttan would create no unwarranted disparity
among the defendants similarly charged in this case. A sentence of probation would be
consistent with the non-prison sentences given to the 31% to at least 41% of the others with
similar charges reported in the United States Sentencing Commission Fiscal Year 2021 statistics.
itis also doubtful that many within that 31% to at least 41% group have a record and history
comparable to Rami’s, which is one worthy of high commendation for his extensive assistance to
the public.

Conclusion

For the reasons stated above and in consideration of all the facts and circumstances of
record in this matter, a sentence of probation is sufficient, but not greater than necessary to
comply with 18 USC §3553,

s/ J. William Lucco

J. William Lucco, #1701835IL

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CERTIFICATE OF SERVICE

I hereby certify that on 9/26/22, I electronically filed a Sentencing Memorandum with the

Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

All registered attorneys of record

And I hereby certify that on 9/26/22, I mailed by United States Postal Service, the
document to the following non-registered participants:

None.
s/ J. William Lucco
